 Case 18-01100        Doc 140     Filed 02/05/21 Entered 02/05/21 19:02:42           Desc Main
                                   Document     Page 1 of 2


                        UNITED STATES BANKRUPTCY COURT
                   EASTERN DIVISION, DISTRICT OF MASSACHUSETTS
 In re
                                                     Docket No.: 18-10098-MSH
               Donald C. Kupperstein
                                                     Chapter 7
                                            Debtor
 Irene B. Schall, Successor Personal
 Representative, etc.,
                                           Plaintiff, ADVERSARY PROCEEDING
                        v.
 Donald Kupperstein,                            No: 18-01100-MSH
                                    Defendant
 Executive Office of Health and Human
 Services of the Commonwealth of
 Massachusetts,                                 ADVERSARY PROCEEDING
                                     Plaintiff,
                       v.                       No: 18-01101-MSH
 Donald Kupperstein,
                                    Defendant
                                 DESIGNATION OF RECORD
Donald Kupperstein, appellant, hereby designates the following documents as constituting the
record on appeal in the above captioned Adversary Proceedings.

 Case No.        Case No.
 18-01100        18-01101
 Docket No:      Docket No.    Date           Description
 1               1             7/16/2018      Complaint, with all attachments
 32              30            11/1/2019      Answer
 90 and 90.1     78 and 78.1   4/14/2020      Kupperstein motion for summary judgment
 94 and 94.1     82 and 82.1   5/13/2020      Joint opposition to Kupperstein motion
 95              83            5/18/2020      Kupperstein Statement of Undisputed Facts
 96 and 96.1     84 and 84.1   5/19/2020      Joint motion of plaintiffs for summary judgment
 97 and all      85            5/19/2020      Joint memorandum in support of plaintiffs’ joint
 attachments                                  motion
 98              86 and 86.1   5/19/2020      Affidavit of Paul T. O’Neill
 104 and         92 and        5/27/2020      Plaintiffs’ joint statement of Facts
 attachments     attachments
 122             110           6/19/2020      Kupperstein’s Response to joint statement of facts
 123             111           6/19/2020      Kupperstein’s motion to file #122 late
 124             112           6/22/2020      Order denying #123
 126             114           9/23/2020      Kupperstein’s motion to cite additional authority
 127             115           10/09/2020     Endorsement order allowing #126
 129             117           1/21/2021      Memorandum of Decision denying discharge
 130             118 & 119     1/21/2021      Order denying discharge
 136             123           2/4/2021       Notice of Appeal
                               Transcript of hearing held on 6/16/2020
                               Docket of both proceedings
 Case 18-01100      Doc 140     Filed 02/05/21 Entered 02/05/21 19:02:42           Desc Main
                                 Document     Page 2 of 2


Dated: February 5, 2021
                                                  Respectfully submitted,
                                                  Donald Kupperstein, appellant,
                                                  By his attorney,


                                                  /s/ David G. Baker
                                                  David G. Baker, Esq.
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                                     Certificate of Service
The undersigned states upon information and belief that the within Statement was served upon the
plaintiffs by the court’s CM/ECF system on the date set forth above.

                                                  /s/ David G. Baker
                                                  David G. Baker, Esq.

   •   Roger Stanford on behalf of Plaintiff Irene B Schall
       rstanford@msmw-law.com, G12346@notify.cincompass.com

   •   Paul O'Neill on behalf of Plaintiff Executive Office of Health & Human Services
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